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                                  UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF MISSOURI
                                        EASTERN DIVISION
    QUINTON THOMAS, ET AL.,                         )
                                                    )
           Plaintiffs,                              )
                                                    )
    v.                                              )          Case No. 4:16-cv-01302-SEP
                                                    )
    CITY OF ST. ANN, MISSOURI,                      )
                                                    )
           Defendant.                               )
                         THIRTEENTH AMENDED CASE MANAGEMENT ORDER
           This case was filed on August 9, 2016. The original Case Management Order
    was entered on November 2, 2018, and the original discovery deadline was December
    13, 2019. Doc. 157. In the thirty-three months since that original discovery deadline,
    the Court has issued twelve amended case management orders at the request of the
    parties. See Docs. 192, 204, 213, 223, 230, 235, 242, 248, 252, 264, 266, 273. 1 The
    parties now jointly move to amend the Case Management Order for a thirteenth time.
    See Doc. 274. There is no evidence that the parties are acting in bad faith, and the
    parties have provided sufficient justification for each individual request. Therefore, the
    Court will grant this final request. But, in the interest of seeing this case to completion,
    this is the last motion for amendment that the Court will entertain in this matter.
    And during the additional time granted, the Court will require the parties to make
    another attempt at settling the case through alternative dispute resolution.
           Accordingly, the case management deadlines are amended and extended as
    follows:
               1) Each party is permitted to take a total of 20 depositions between Walker et al.
                  v. St. Ann, 4:18-cv-01699 and Thomas et al. v. St. Ann, 4:16-cv-01302.
               2) The parties shall complete all discovery in this matter no later than
                  September 30, 2022.
               3) The parties will be referred to alternative dispute resolution on August 17,
                  2022; that reference shall terminate on November 1, 2022.

1Although the most recently issued Case Management Order, Doc. 273, is labelled “Tenth Amended
Case Management Order,” it is actually the twelfth.
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        4) Any motions to limit or exclude expert testimony shall be filed no later than
           October 18, 2022. Opposition briefs shall be filed no later than November
           22, 2022, and any reply brief shall be filed no later than December 7, 2022.
        5) Any motion for class certification shall be filed no later than January 6, 2023.
           Opposition briefs shall be filed no later than March 6, 2023, and any reply
           brief shall be filed no later than March 21, 2023. The parties shall confer
           regarding the need for a hearing on any motion for class certification and
           propose mutually agreeable dates for such a hearing to the Court by no later
           than March 21, 2023.
    Dated this 17th day of August, 2022.



                                           SARAH E. PITLYK
                                           UNITED STATES DISTRICT JUDGE
